                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



 TRACBEAM, L.L.C.,                             CASE NO. 6:11-cv-96 (LED)

                     Plaintiff,                Jury Trial Demanded

 vs.

 AT&T INC., et al,

                   Defendant.

 TELECOMMUNICATION SYSTEMS,
 INC.,
                                               CASE NO. 6:12-cv-58 (LED)
                     Plaintiff,
                                               Jury Trial Demanded
 vs.

 TRACBEAM, L.L.C.,

                   Defendant.


 Joint Motion to Dismiss without prejudice claims and counterclaims between TracBeam,
                                  MetroPCS, and TCS


       Plaintiff TracBeam, LLC (“TracBeam”), Defendants MetroPCS Communications, Inc.

and MetroPCS Wireless Inc. (collectively, “MetroPCS”), and Plaintiff/Consolidated Defendant

TeleCommunication Systems, Inc. (“TCS”) respectfully move the Court to dismiss without

prejudice (1) TracBeam’s claims and counterclaims against MetroPCS and TCS and (2) the

claims and counterclaims asserted by TCS and MetroPCS against TracBeam in the above-

captioned cases.
        The parties further move that each party shall bear its own costs, expenses, and attorneys’

fees.

Dated: June 13, 2013                                 Respectfully submitted,
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                                CERTIFICATE OF SERVICE

        I hereby certify that counsel of record who are deemed to have consented to electronic
service are being served this 13th day of June 2013, with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be served by
electronic mail, facsimile transmission and/or first class mail on this same date.


                                    /s/ Jeff Eichmann
                                    John Jeffrey Eichmann




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